                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION

                           No. 5:15-CR-367-1H

UNITED STATES OF AMERICA,             )
                                      )
                                      )
    v.                                )
                                      )                  ORDER
                                      )
MATTHEW F. LASSITER,                  )
     Defendant.                       )

     This matter is before the court on defendant’s motion to

reconsider this court’s order, [DE #70], continuing defendant on

supervised release following a term of imprisonment of six months

[DE #73].     While the government states it does not oppose the

motion, it also states it intends to seek a term of imprisonment

greater than six months should the court amend the judgment, [DE

#72].

     Defendant seeks reconsideration of this court’s order as he

did not expect the court to continue supervision following a term

of imprisonment and contends that it would not be beneficial to

him considering his history of drug abuse.         For lack of good cause

shown, defendant’s motion to reconsider, [DE #70], is hereby

DENIED. The court upholds its prior order, [DE #73].

     This 11th day of January 2021.


                             _______________________________________
                             MALCOLM J. HOWARD
                             Senior United States District Judge



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